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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

 JOSEPH A. DENBOW and SEAN R.
 RAGSDALE, on their own and on behalf of a
 class of similarly situated persons,

                       Petitioners,                 Case No. 20-cv-175-JAW
        v.

 RANDALL A. LIBERTY, Commissioner of
 Maine Department of Corrections in his
 official capacity, MAINE DEPARTMENT
 OF CORRECTIONS,

                        Respondents


                         DECLARATION OF DALE SUKEFORTH
I, Dale Sukeforth, am over the age of 18 and fully competent to make the following declaration:
   1. I am currently incarcerated in the Maine Department of Corrections (DOC), Maine
      Correctional Center. My DOC number is 9110. I am 50 years old and am diagnosed with
      numerous medical conditions, including diabetes and advanced cirrhosis of the liver,
      which I understand place me at higher risk for severe illness or death from COVID-19.
   2. I am incarcerated for theft by unauthorized taking or transfer, with a 19-month sentence.
      My earliest release date is March 15, 2021, less than a year away. Even once I am
      released, I will remain supervised by the DOC during one year of probation.
   3. I am scared that I could get sick or die in prison before my release date. I understand that
      there have been four positive tests in the Maine Correctional Center and I am worried I
      could be next.
Medical Conditions and History
   4. I am 50 years old and am diagnosed with diabetes and advanced cirrhosis of the liver due
      to Hepatitis C. I also have post-traumatic stress disorder, am missing my spleen, and have
      undergone operations on my lungs in the past. I am prescribed medication for many of
      these conditions, including insulin for diabetes, Hepatitis-C medication for liver cirrhosis,
      as well as blood pressure medication and medication for my PTSD.
Conditions in the Prison
   5. It is impossible to socially distance at the Maine Correctional Center, even with the new
      precautions after the positive COVID-19 tests in this facility. I am afraid that the dozens
      of people who I have close contact with each day could be carrying or spreading the
      virus.



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   6. I live in A-Pod, which has almost 90 inmates, with four “walks,” divided into south side
      and north side, and bottom tier and top tier. There are three shower stalls in the entire
      dorm, which are not cleaned between uses.
   7. I have read that COVID-19 can live on surfaces and I am afraid that the virus could be
      living on surfaces throughout the pod (including in the shared shower area). The dorm is
      supposed to be cleaned by prisoners once a day. We do not have any bleach or bleach-
      based materials to clean. Instead, DOC provides a pink cleaner that is supposed to sit on
      surfaces for ten minutes to be effective. The first time I saw anyone using this procedure
      (or clean the floors at all) was yesterday, after I spoke with an attorney on a recorded line
      about hygiene concerns. There has not been any change in the cleaning materials since
      we learned about COVID-19.
   8. We have access to soap to clean our hands, but the hand sanitizer on the wall dispensers
      says that it has no alcohol in it.
          a. The officers have their own hand sanitizer that they carry. Prisoners are not
             allowed to use the officers’ hand sanitizer. Once a day we get a squeeze of hand
             sanitizer during the medication line.
   9. Even though I try to stay away from other people as much as possible, there are many
      times each day when I cannot avoid close contact with other people.
          a. I wake up in a small cell that I share with one other person. It is impossible to
             physically distance when moving around in the cell.
          b. Later in the morning, I line up for the medication line with the rest of the people
             south side bottom tier, about 20 people. Nobody can stay six feet apart in line. If
             prisoners wear masks at all, the masks often hang off one side of their face. There
             are three pieces of tape six feet apart, in the area closest to the nurse who hands
             out the medication. People behind those three pieces of tape stand bunched
             together, shoulder to shoulder. The nurse at the medication line does not wear a
             face shield and sometimes only has a cloth mask.
          c. I need insulin four times a day. Each time, I have to walk through the pod and
             expose myself to close contact with people from other “walks” who are bunched
             together in the common areas. I walk with a guard to the medical office. Other
             people from different pods, including the pod where there has been a positive
             case, stand in line to wait for the nurse to provide insulin shots. The nurse who
             gives me insulin does not wear a face shield and has had contact with the positive
             cases of COVID-19 in the facility.
          d. We get our meals in the pods. We walk to the middle of the pod to get our trays,
             along with the approximately 20 other people in our walk. Then we go and eat in
             our cells.
          e. The phones in the common area are only about three feet apart. It is impossible to
             physically distance when using the phones. The phones are often not cleaned
             between uses, and when they are cleaned, they are not cleaned properly. As of
             today, an officer gave me a piece of plastic to put between my mouth and the
             phone.


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   10. DOC tries to keep us limited to our pods, but I am still worried that the staff could
       quickly spread the disease between the pods. Officers from many different pods
       congregate together (often without masks) and then travel all around the facility. Not to
       mention that the staff travel to and from the community every day.
   11. I was tested for COVID-19 last week and was tested again on May 27, 2020.
   12. I have provided authority to use my electronic signature.
   13. I declare under penalty of perjury that the foregoing is true and correct.


   Dated May 28, 2020
                                             /s/ Dale Sukeforth
                                             Dale Sukeforth




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